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1829549 Tr Rsp

Lon A. Jenkins (4060)
Tami Gadd (12517)
MaryAnn Bride (13146)
Katherine T. Kang (14457)
OFFICE CHAPTER 13 TRUSTEE
465 South 400, Suite 200
Salt Lake City, Utah 84111
Telephone: (801) 596-2884
Facsimile: (801) 596-2898
Email: utahtrusteemail@ch13ut.org

                              IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF UTAH


        In re:                                                Case No. 20-24404
        CHRISTOPHER PROCTOR                                   Chapter 13
        Debtor.                                               Hon. Joel T. Marker

                 NOTICE AND OPPORTUNITY OF HEARING ON TRUSTEE’S MOTION TO
                 MODIFY CONFIRMED PLAN TO INCREASE RETURN TO NONPRIORITY
                                  UNSECURED CREDITORS

                                      Objection Deadline: November 9, 2022
                                   Hearing Date: November 30, 2022 at 9:30 a.m.

      PLEASE TAKE NOTICE that the Chapter 13 Trustee has filed a Motion to Modify
Confirmed Plan to increase return to nonpriority unsecured creditors.

       YOUR RIGHTS MAY BE AFFECTED. You should read these papers carefully
and discuss them with your attorney, if you have one in this bankruptcy case. (If you do not
have an attorney, you may wish to consult one.)

       Chapter 13 Trustee’s Motion seeks an order from the Court to increase the return to
unsecured creditors to 100%.

     NO HEARING WILL BE CONDUCTED ON THIS MOTION UNLESS A WRITTEN
OBJECTION IS FILED WITH THE CLERK OF THE COURT ON OR BEFORE THE
OBJECTION DEADLINE SET FORTH BELOW.

                 If you do not want the Court to grant the relief sought in the motion, then:
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       (1) on or before November 9, 2022, file with the Bankruptcy Court a written Objection,
explaining your position, at:


       U.S. Bankruptcy Court
       350 South Main St., Room 301
       Salt Lake City, UT 84101

If you mail your response to the Bankruptcy Court for filing, you must mail it early enough so
that the Court will receive it on or before the objection deadline stated above. You must also
mail a copy to:

       Lon A. Jenkins, Chapter 13 Trustee
       465 South 400 East, Suite 200
       Salt Lake City, UT 84111

       (2) attend a hearing which is set for November 30, 2022 at 9:30 a.m., Dial: (636) 651-
       3182 Ten Min Before Hrg, Access Code: 3834658#. There will be no further notice
       of the hearing and failure to attend the hearing will be deemed a waiver of your
       objection.

       If you or your attorney do not take these steps, the Bankruptcy Court may decide that you
do not oppose the relief sought in the motion and may enter an order granting that relief. In the
absence of a timely filed objection, the undersigned counsel may and will ask the Court to enter
an order approving the Motion without a hearing.

       DATED: October 6, 2022.



                                            /s/ Tami Gadd
                                            Tami Gadd
                                            Attorney for Chapter 13 Trustee




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                              CERTIFICATE OF SERVICE
      A true and correct copy of the foregoing paper was served on the following person on
October 6, 2022
LON A. JENKINS - Chapter 13 Trustee

JUSTIN O. BURTON – Attorney for the Debtor
ECF Notification

UNITED STATES TRUSTEE
ECF Notification

CHRISTOPHER PROCTOR
PO BOX 520009
SALT LAKE CITY, UT 84152-0009

CREDITOR MAILING MATRIX ATTACHED


                                                  /s/    Michelle Moses
                                                  Office of the Chapter 13 Trustee




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